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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                                    Case No: 20-cr-00249-RS-1
                                   Case Name: USA v. Andrade

                        TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                         GOVERNMENT ATTORNEYS:                   DEFENSE ATTORNEYS:
Richard Seeborg                David Ward, Christiaan Highsmith,       Michael Shepard, Kerrie Dent,
                               Matthew Chou                            Cindy Diamond, Dainec Stefan
TRIAL DATE:                    REPORTER(S):                            CLERK:
2/12/2025                      Stephen Franklin                        Corinne Lew

PLF    DEF DATE/TIME
NO.    NO. OFFERED        ID       REC     DESCRIPTION                                          BY
           2/12/2025
             8:11 am                       Court convened. Counsel present. Parties
                                           discussing matters outside the presence of the
                                           jury.
             8:33 am                       Court reconvened with jury.
             8:34 am                       Resume cross of Brandi Jodoin by M. Shepard.
             9:28 am                       Re direct of witness B. Jodoin by M. Chou.
             9:39 am                       Witness B. Jodoin excused.
             9:40 am                       Government calls witness Michael Witte. Direct
                                           by Christiaan Highsmith.
810          9:45 am      X        X       Email to M. Witte from Brian Darro dated
                                           8/21/2015.
677          9:47 am      X        X       Share Purchase Agreement.
1447         9:54 am      X        X       Investor’s Daily (September 20, 2017).
41           10:02 am     X        X       Forbes Article
             10:02 am                      Break
             10:20 am                      Court reconvened with jury.
             10:20 am                      Resume direct of M. Witte by C. Highsmith.
1441         10:26 am                      Published article 9/20/2017.
1048         10:32 am     X        X       Email to M. Witte from Andrade dated 7/30/2019.
1448         10:49 am     X        X       Email to M. Witte from Andrade dated 5/27/2020.
             10:59 am                      Cross of witness M. Witte by D. Stefan.
             11:26 am                      Redirect of witness M. Witte by C. Highsmith.
             11:28 am                      Witness M. Witte excused.
             11:29 am                      Government calls witness Brian Darrow. Direct
                                           by D. Ward.



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                                   Case No: 20-cr-00249-RS-1
                                  Case Name: USA v. Andrade
                                    Date: February 12, 2025

  Courtroom Deputy: Corinne Lew          - Court Reporter:   Stephen Franklin

                        EXHIBIT and WITNESS LIST CONTINUED

PLF    DEF DATE/TIME
NO.    NO. OFFERED        ID      REC     DESCRIPTION                                        BY
811        11:45 am       X       X       Email from Brian Darrow dated 10/15/15.
            12:02 pm                      Break
            12:19 pm                      Court reconvened with jury.
            12:20 pm                      Resume direct of B. Darrow by D. Ward.
1243        12:20 pm      X       X       Chase Bank NAC Foundation Statement.
1501        12:25 pm      X       X       Seized and scanned documents: wire instructions
                                          with Andrade signatures.
            12:42 pm                      Cross of witness B. Darrow by M. Shepard.
            1:07 pm                       Re direct of witness B. Darrow by D. Ward.
1501        1:15 pm       X       X       Commission Breakdown
B
            1:20 pm                       Re Cross of witness B. Darrow by M. Shepard.
748         1:22 pm       X       X       Brian Darrow Plea Agreement.
            1:24 pm                       Re re direct of B. Darrow by D. Ward.
            1:25 pm                       Witness B. Darrow excused.
            1:26 pm                       Jury excused for the day -return on 2/13/2025 at
                                          8:30 am. Counsel to appear at 8:00 am
            1:27 pm                       Court and counsel present discussing matters
                                          outside the presence of the jury.
            1:30 pm                       Court in recess.




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